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                                            THE CITY OF NEW YORK                        ANDREW KLABEN-FINEGOLD
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                                                                   June 15, 2020

        BY ECF
        Hon. LaShann DeArcy Hall
        United States District Judge
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                                                    Re: Lax v. City Univ. of N.Y. et al.,
                                                        16 Civ. 0799 (LDH) (VMS)

        Dear Judge DeArcy Hall:

                        I am an Assistant Corporation Counsel in the office of James E. Johnson,
        Corporation Counsel of the City of New York, assigned to represent Defendants in the above-
        referenced action. I write on behalf of Defendants to correct any misimpression in Plaintiff’s
        June 12th letter to you in which he requested a memorandum and order be issued in this matter.
        Despite Plaintiff’s assertion, Your Honor did in fact issue a brief Order via ECF notification on
        September 30, 2019 that was entered on October 7, 2019, granting Defendants’ motion for
        summary judgment in its entirety.



                                                                   Respectfully Submitted,



                                                                   _____________________
                                                                    Andrew Klaben-Finegold
                                                                    Assistant Corporation Counsel




        cc:      Corey S. Stark, Esq.
                 Attorney for Plaintiff
                 (via ECF)
